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 5   Attorney for Leonardo A. Oliveira Santos
 6
                                  UNITED STATES DISTRICT COURT
 7
                                           DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA,           )
10                                       )                2:17-cr-00001-JAD-CWH
                       Plaintiff,        )
11                                       )                STIPULATION TO CONTINUE
           vs.                           )                SENTENCING AND DISPOSITION
12                                       )
      LEONARDO A. OLIVEIRA SANTOS,       )
13                                       )
                       Defendant.        )
14   ____________________________________)
15
            IT IS HEREBY STIPULATED AND AGREED by and between Defendant, LEONARDO
16
     A. OLIVEIRA SANTOS, by and through his counsel, TODD M. LEVENTHAL, ESQ., and the
17
     United States of America, by its counsel, JOHN P. BURNS, Assistant U.S. Attorney, that the
18
     Sentencing and Disposition in the above-captioned matter currently set for Friday October 27,
19
     2017 be reset for at least 90 days.
20
            This Stipulation is entered into for the following reasons
21
            1.      Mr. Leventhal will not be in jurisdiction on Friday and will not be available.
22
            2.      There are pending issues that remain which are vital to the Sentencing and
23
                    Disposition of Mr. Oliveira-Santos.
24
            3.      Mr. Oliveira-Santos is currently in custody and agrees with this request.
25
            4.      Mr. Leventhal has spoken to JOHN P. BURNS, Assistant United States Attorney,
26
                    and he has no objection to continue the hearing.
27
28
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 1        5.     Additionally, denial of this request for a continuance could result in a miscarriage
 2               of justice.
 3
 4        DATED this 26th day of October, 2017.
 5
 6 ___/s/ Todd M. Leventhal                                   ___/s/ John P. Burns
   TODD M. LEVENTHAL, ESQ.                                     JOHN PATRICK BURNS
 7 Counsel for Mr. Oliveira-Santos                             Assistant U.S. Attorney
 8
 9
          Submitted By: LEVENTHAL & ASSOCIATES, PLLC
10
11
                                                       By:        /s/ Todd M. Leventhal
12
                                                               TODD M. LEVENTHAL, ESQ.
13                                                             Leventhal & Associates, PLLC
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                                                               Attorney for: Mr. Oliveira-Santos
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          Case 2:17-cr-00001-JAD-DJA         Document 225        Filed 10/26/17      Page 3 of 4



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 6
 7                                UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9
10 UNITED STATES OF AMERICA,             )
                                         )           2:17-CR-00001-JAD-CWH
11                     Plaintiff,        )
                                         )
12         vs.                           )
                                         )
13   LEONARDO A. OLIVEIRA SANTOS,        )
                                         )
14                     Defendant.        )
     ____________________________________)
15
16                                       FINDINGS OF FACT
17         Based on the stipulation of counsel, and good cause appearing, the Court finds that:
18
19         1.     Mr. Leventhal will not be in jurisdiction on Friday October 27, 2017, and will not
20                be available.
21         2.     There are pending issues that remain which are vital to the Sentencing and
22                Disposition of Mr. Oliveira-Santos.
23         3.     Mr. Oliveira-Santos is currently in custody and agrees with this request.
24         4.     Mr. Leventhal has spoken to JOHN P. BURNS, Assistant United States Attorney,
25                and he has no objection to continue the hearing.
26 ////
27 ////
28 ////
          Case 2:17-cr-00001-JAD-DJA              Document 225       Filed 10/26/17      Page 4 of 4



 1 ////
 2           5.      Additionally, denial of this request for a continuance could result in a miscarriage
 3                   of justice.
 4                                        CONCLUSIONS OF LAW
 5           1.    For all the above-stated reasons, the ends of justice would best be served by granting
 6
                   the requested continuance of the current Sentencing date to either the week of
 7
                   February 19, 2018 at a time convenient for the court.
 8
                                                     ORDER
 9
                   Accordingly, IT IS SO ORDERED that the current Sentencing of Mr. Oliveira-
10
                                                               February
     Santos is vacated and the same is continued and reset for ______ day5,___________,
                                                                            2018 at the hour
                                                                                        2018, at the
11
     of 9:00
     hour     a.m.
          of __________, in Courtroom # ____.
12
13                                                   __________________________________
            DATED: 10/26/2017
                                                     JENNIFER A. DORSEY
14                                                   UNITED STATES DISTRICT JUDGE
15
                                        CERTIFICATE OF SERVICE
16
             I hereby certify that on the 26th day of October, 2017 a true and correct copy of the,
17
18 STIPULATION AND ORDER TO CONTINUE SENTENCING AND DISPOSITION
19
     was filed through the CM/ECF filing system and was electronically served to the following
20
     registered addresses on file for this instant case :
21
22
23 John Patrick Burns : John.P.Burns@usdoj.gov, USANV.team2@usdoj.gov,
   veronica.criste@usdoj.gov
24
25                                             /s/ Todd M. Leventhal
                                             An Employee of TODD M. LEVENTHAL, ESQ.
26                                           LEVENTHAL AND ASSOCIATES, PLLC.
27
28
